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                                                     U.S. Department of Justice

                                                     Environment and Natural Resources Division

90-1-24-05840
Law and Policy Section                                                           Telephone (202) 514-1442
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Washington, DC 20044-7415



                                                             June 21, 2022

Clerk’s Office
United States District Court
Western District of Washington, Tacoma Division
1717 Pacific Avenue, Room 3100
Tacoma, WA 98402-3200

         Re:      Columbia Riverkeeper v. Weyerhaeuser (W.D. Wash.), Case No. 3:22-cv-05132

Dear Clerk of Court:

      I am writing to notify you that the United States has reviewed the proposed consent
judgment in this action and does not object to its entry by this Court.

       On May 9, 2022, the Citizen Suit Coordinator for the Department of Justice received a
copy of the proposed consent judgment in the above-referenced case for review pursuant to
Clean Water Act, 33 U.S.C. § 1365(c)(3).1 This provision provides, in relevant part:

         No consent judgment shall be entered in an action in which the United States is
         not a party prior to 45 days following the receipt of a copy of the proposed
         consent judgment by the Attorney General and the Administrator.

See also 40 C.F.R. § 135.5 (service on Citizen Suit Coordinator in the U.S. Department of
Justice). A settlement that does not undergo this federal review process is at risk of being void.

       In its review, the United States seeks to ensure that the proposed consent judgment
complies with the requirements of the relevant statute and is consistent with its purposes. See

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  The term “consent judgment” in the Clean Water Act citizen suit provisions has a broad
meaning and encompasses all instruments entered with the consent of the parties that have the
effect of resolving any portion of the case. For example, a document stipulating to dismissal of a
case of any part thereof is within the scope of this language. Such documents and any associated
instruments must be submitted to the United States and the court for review, notwithstanding any
provisions purporting to maintain the confidentiality of such materials. The Department
monitors citizen suit litigation to review compliance with this requirement.
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Local 93, Int’l Ass’n of Firefighters v. City of Cleveland, 478 U.S. 501, 525-26 (1986) (a consent
decree should conform with and further the objectives of the law upon which the complaint was
based). For example, if the defendant has been out of compliance with statutory or permit
requirements, the proposed consent judgment should require the defendant to come into prompt
compliance and should include a civil penalty, enforceable remedies, injunctive relief, and/or an
environmentally beneficial project payment sufficient to deter future violations, or combinations
of the above.

        In this case, the proposed consent decree requires, inter alia, that Defendant submit a
payment to a non-party organization to be used for projects that will improve the water quality of
the Columbia River and its tributaries. Where a consent judgment provides for the payment of
sums to a third party that is to undertake an environmentally beneficial project and/or acquire a
property interest that will have environmental benefits, the United States typically requests that
the third party provide a letter to the Court and to the United States representing that it is a
501(c)(3) tax exempt entity and that it: (1) has read the proposed consent judgment; (2) will
spend any monies it receives under the proposed judgment for the purposes specified in the
judgment; (3) will not use any money received under the proposed consent judgment for political
lobbying activities; and (4) will submit to the Court, the United States, and the parties a letter
describing how the funds were spent. In a letter attached as Exhibit 2 to the proposed consent
decree, the intended recipient of the funds confirmed that any funds received as a result of the
proposed consent decree would be used solely for the purpose outlined in the consent decree and
no portion of the funds would be used for political lobbying activities. The United States
believes that this letter will help to ensure that any monies expended under the consent judgment
will be used in a manner that furthers the purposes of the Clean Water Act and that is consistent
with the law and the public interest.

      Given the facts of this case, the United States has no objection to the proposed consent
judgment. The fact that we do not have a basis to object to this consent judgment does not imply
approval of this instrument.

        The United States affirms for the record that it is not bound by this settlement. See, e.g.,
Hathorn v. Lovorn, 457 U.S. 255, 268 n.23 (1982) (Attorney General is not bound by cases to
which he was not a party); Gwaltney of Smithfield, Ltd. v. Chesapeake Bay Found. Inc., 484 U.S.
49, 60 (1987) (explaining that citizen suits are intended to “supplement rather than supplant
governmental action”); Sierra Club v. Electronic Controls Design, 909 F.2d 1350, 1356 n.8 (9th
Cir. 1990) (explaining that the United States is not bound by citizen suit settlements, and may
“bring its own enforcement action at any time”); 131 Cong. Rec. S15,633 (June 13, 1985)
(statement of Senator Chafee, on Clean Water Act section 505(c)(3), confirming that the United
States is not bound by settlements when it is not a party). The United States also notes that, if
the parties subsequently propose to modify any final consent judgment entered in this case, the
parties should so notify the United States, and provide a copy of the proposed modifications,
forty-five days before the Court enters any such modifications. See 33 U.S.C. §1365(c)(3).

        We appreciate the attention of the Court. Please contact the undersigned at (202) 514-
4642 if you have any questions.



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                                     Sincerely,


                                     /s/ Peter McVeigh
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                                     U.S. Department of Justice
                                     Environment and Natural Resources Division
                                     Law and Policy Section
                                     P.O. Box 7415
                                     Washington, D.C. 20044-4390


cc:   Counsel on Record via ECF




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